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                                   UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE


  MICHELLE          KINNUCAN                           '

             Plaintiff,                                .
  V.                                                *        Civil Action No.: 2:20-cv-01309
                                                   *
 NATIONAL SECURITY AGENCY,                          si
 CENTRAL INTELLIGENCE AGENCY,                      *
 THE DEFENSE INTELLIGENCE                          .
 AGENCY, AND THE                                   *
 DEPARTMENT               OF DEFENSE

             Defendants.                           *


                                DECLARATION        OF ADAM         DeMILLIO


 I, ADAM       DeMILLIO, hereby declare and state:


        1.         I am the Deputy Chief of Enterprise Guidance         Services (“EGS”) at the National

Security Agency (“NSA” or “Agency”). I have been in this position since 2023, and I have been

employed with NSA since 2007. In my current role, I am responsible for leading and coordinati
                                                                                              ng

the efforts of a team of engagement and policy professionals across multiple offices, including

providing oversight of NSA's Freedom of Information Act Office (“NSA FOIA Office”). This

office has primary responsibility for responding to requests for NSA records made pursuant to
                                                                                              the
Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, and the Privacy Act of 1974 (“PA”),
                                                                                         5

U.S.C. § 552a.

       2.         I have held a range of significant leadership positions throughout the Agency within

the Operations, Cybersecurity, and Engagement              & Policy Directorates, and I have a detailed

understanding of NSA's operations, management processes, and resources.             Immediately prior to
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 assuming my current position, I served as the Deputy Chief and Acting Chief of an NSA operations

 organization. My       other experience includes serving in leadership roles overseeing policy and

 strategy while managing interactions with partner agencies, completing multiple details in mission-

 related operations, and serving in various other intelligence leadership positions.


           De      Through the exercise of my official duties, I have become familiar with the current litigation

 which arose out of      FOIA request 106371, made by Michelle Kinnucan for “both volumes I and II of A

Report to the Committee on Appropriations — U.S. House of Representatives of the Effectiveness of the

Worldwide Communications Systems and Networks of the DoD, U.S.S. Liberty Incident.” The purpose

of this declaration is to explain the basis of NSA’s June 28, 2024 determination following the re-processing

of FOIA request 106371 that volumes I and II of A Report to the Committee on Appropriations — U.S.

House of Representatives of the Effectiveness of the Worldwide Communications Systems and Networks

of the DoD, U.S.S. Liberty Incident (“HAC report”) is a congressional record not subject to processing

under FOIA. A copy of NSA’s determination letter to Kinnucan, along with a follow up letter, is attached

as Exhibit A.


                                 I.       NSA'S ORIGIN AND MISSIONS


       4.         The NSA was established by Presidential Directive in October 1952 as a separately-

organized agency within the Department of Defense (“DoD”) under the direction, authority, and

control of the Secretary of Defense. NSA has two primary missions: (1) to collect, process, analyze,

produce, and disseminate SIGINT            information for foreign intelligence and counterintelligence

purposes to provide support for sational and departmental requirements and for the conduct of

military operations; and (2) to conduct information assurance/cybersecurity activities.


      5.          NSA   has developed     a sophisticated worldwide        SIGINT    collection network that

acquires foreign signals. In performing its SIGINT mission, NSA exploits foreign signals to obtain
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 intelligence information necessary to the national defense, national security, and/or the conduct of

 foreign affairs. The technological infrastructure that supports NSA's SIGINT collection network

 has taken years to develop at a cost of billions of dollars and significant human effort. It relies on

 sophisticated collection and processing technologies designed to keep pace with challenging new

 technological developments.


                    Il.        IMPORTANCE         TO THE NATIONAL SECURITY


       6.        There are two primary reasons for gathering and analyzing intelligence information.

The first, and most important, is to gain the information required to direct U.S. resources as

necessary for the national security of the United States. SIGINT information provided by NSA is

routinely distributed to a wide variety of senior Government officials, including the President, the

President's National      Security Advisor, the Director of National       Intelligence, the Secretaries      of

Defense,    State, Treasury,   and   Commerce,    U.S.   ambassadors   serving     in posts abroad, the Joint

Chiefs of Staff, and the Unified and Specified Commanders. In addition, SIGINT information is

disseminated     to numerous     agencies   and   departments   including,    among     others,   the   Central

Intelligence Agency (“CIA”), the Federal Bureau of Investigation (“FBI”), the Drug Enforcement

Administration    (“DEA”),     the Departments     of the Army,    Navy,     and   Air Force,     and various

intelligence components within DoD. Information provided by NSA in a classified setting to the

military and other government agencies and officials within the Intelligence Community (“IC”) is

relevant to a wide range of important issues including, but not limited to, military order of battle,

threat warnings and readiness, arms proliferation, terrorism, and foreign aspects of international

narcotics trafficking. This sensitive information is often critical to the conduct of U.S. foreign

policy and of U.S. military operations around the world. Moreover, intelligence produced by NSA

is often unobtainable by other means.
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        7.       NSA's ability to produce SIGINT depends on its access to foreign signals. Further,

 SIGINT capabilities are both expensive and fragile. Public disclosure of either the capability to

 collect specific signals or the substance of the SIGINT information itself can easily alert foreign

 adversaries to the vulnerability of their signals.


        8.       The    subset   of   SIGINT     information   obtained   from    intercepted   foreign

 communications is called communications intelligence (“COMINT”). A fundamental tenet of the

 COMINT       process   is that the identity of specific communicants     whose   communications    are

intercepted (commonly referred to as “targets”), the degree of success in exploiting these targets,

and the vulnerability of particular foreign communications are all matters that must be maintained

in strictest secrecy because the ability to exploit foreign communications is fragile. Disclosure of

the identity of the targets, the ability to exploit those targets, or the vulnerability of particular

foreign communications would encourage counter measures by the targets of NSA's COMINT

efforts. Disclosure of even a single intercepted communication holds the potential to reveal the

intelligence collection techniques that are applied against targets around the world. Once alerted,

COMINT targets may change the way they communicate, which could inhibit access to the targets'

communications and, therefore, deny the United States access to information crucial to the defense

of the United States both at home and abroad. If a target is successful in defeating an intercept

epertion, all of the intelligence from that source is lost unless and until NSA can establish new and

equivalent exploitation of that target's signals. If a source becomes      unavailable, the military,

national policymakers, combatant commanders, and the IC must operate without the information

the communications provided. Such losses are extremely harmful to the national security of the

United States.
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        9.       Congress has specifically recognized the inherent sensitivity of NSA's and the larger

 IC's intelligence activities; thus, Congress has passed statutes to protect the IC's intelligence

 activities as well as NSA's SIGINT efforts from damage by disclosure. These statutes recognize

 the vulnerability of intelligence and, specifically, SIGINT to countermeasures of a foreign power

 or terrorist party and the significance of the loss of valuable foreign intelligence information to

national policymakers, combatant commanders, and the IC. For example, under Section 6 of the

National     Security Act of 1959 (codified at 50 U.S.C.      § 3605) and    18 U.S.C.   § 798, NSA       is

authorized to protect certain information concerning its activities and its intelligence sources and

methods from public disclosure. Additionally, Section 102A(i)(1) of the Intelligence Reform and

Terrorism Prevention Act of 2004 (codified at 50 U.S.C. § 3024) authorized the IC to protect from

disclosure its sensitive intelligence sources and methods.


       10.      Congress also conducts oversight of NSA's activities, as well as the activities of other

intelligence agencies. For example,      in its oversight role, Congress authorizes funds for use in

intelligence or intelligence-related activities.


       11.      Thus, NSA    has certain information sharing obligations to Congress, and in turn,

Congress may, inter alia, issue public or private reports in. connection with NSA           or other IC

activities. For example, Intelligence Community Directive 112 establishes IC policy to provide

written notification to the Senate Select Committee on Intelligence and the House Permanent Select

Committee on Intelligence (collectively the “Congressional intelligence committees”) in order to

keep them fully and currently informed of intelligence activities. Additionally, 50 U.S.C. §3091

mandates that “[t]he President shall ensure that the congressional intelligence committees are kept

fully and currently informed of the intelligence activities of the United States, including any

significant anticipated intelligence activity as required by this subchapter.”
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          12.      | NSA understands that Congress has the authority to keep certain information secret

 and within congressional control. Generally, however, NSA does not assume that every document

 in NSA         possession that originated with Congress      remains   a congressional    record subject to

 congressional control unless Congress manifested a clear intent to control it.


       Tl.         KINNUCAN'S        FOIA REQUEST       106371      AND PRIOR PROCEEDINGS


       13.          Kinnucan submitted a    FOIA request to NSA on February 18, 2019, which Kinnucan

amended by email on March 6, 2019, to seek “both volumes I and II of 'A Report to the Committee

on Appropriations-         US.   House   of Representatives    on   the Effectiveness     of the Worldwide

Communications Systems and Networks of the DoD, U.S.S. Liberty Incident.” A true and correct

copy of Kinnucan's email is attached as Exhibit B to my declaration.


       14.         NSA responded by letter dated March 14, 2019. This letter informed Kinnucan that

her request would be assigned case number 106371 and acknowledged that NSA's FOIA office

received her request. The letter also notified Kinnucan that NSA's search had been completed but

that responsive material identified would require further review. A true and correct copy of this

document is attached as Exhibit C to my declaration.


       15.       | On September 21, 2020, NSA received a copy of Kinnucan's initial Complaint in this

litigation, filed in the United States District Court for the Western District of Washington. See Dkt.

1. On April 19, 2021, NSA sent a letter further responding to FOIA request 106371 and setting

forth the Agency's determination that the requested records (i.e., both volumes of the HAC report)

were not agency records subject to FOIA, but rather were records created and controlled by the

U.S. House of Representatives. Because the Agency was not authorized to process the records

under FOIA, Kinnucan's request was therefore denied. A true and correct copy of this document is

attached as Exhibit D to my declaration.
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        16.      Kinnucan subsequently filed an Amended Complaint in July 2021 challenging, inter

 alia, NSA's determination that the HAC report was a congressional record not subject to      FOIA. See

 Dkts. 17-18. In support of its position that the HAC report is a congressional record, NSA submitted

two declarations on October 1, 2021, and one declaration on October 29, 2021.


        17.      The Court granted NSA summary judgment on this issue, ruling that the HAC report

was not an agency record under FOIA. See Dkt. 40. At the conclusion of further summary judgment

proceedings, Kinnucan appealed the Court's ruling.


       18.       During the appeal, NSA moved for a voluntary remand. As indicated in the motion

for remand, government counsel discovered additional information in NSA's possession that was

potentially responsive to Kinnucan's FOIA request or otherwise could bear on the question of

congressional    intent to control the HAC    report, including an NSA       internal routing slip and

memorandum,       handwritten notes on the HAC      report, and information     concerning the “TOP

SECRET” marking. In light of the information and NSA's obligations under FOIA, NSA sought a

remand in order to re-process FOJA request 106371 and provide Kinnucan and the District Court

an opportunity to consider the additional information.

                         IV.    REPROCESSING             FOLLOWING REMAND


       19.      Following remand, on June 28, 2024, NSA       completed its re-processing of FOIA

request 106371. See Exhibit A. To re-process, NSA began with the FOIA request itself and again

determined that it solely sought the HAC report and no additional records.


      20.       NSA   then considered the additional information identified during the course of

appeal in analyzing whether the HAC report was a congressional record. NSA made discretionary

releases of the additional information that it determined may bear on questions of congressional

control and NSA’s possession of the HAC report.
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           21.       NSA also conducted additional searches for the purpose of determining whether any

 additional NSA records could be located that would shed light on the question of Congress' intent

 to maintain control of the HAC report. No additional records were found beyond those identified

 through NSA’s response.


          V.        THE HAC REPORT IS A CONGRESSIONAL REPORT NOT SUBJECT
                                 TO PROCESSING UNDER THE FOIA

          22.       NSA continues to conclude that the HAC report is a congressional record, and not

 an agency record, and is therefore not subject to          FOIA processing. Kinnucan specifically identifies

two volumes of a Congressional report (“A Report to the Committee on Appropriations - U.S.

House of Representatives on the Effectiveness of the Worldwide Communications Systems and

Networks of the DoD, U.S.S. Liberty Incident”). NSA understands the request on its face to seek

‘records that were prepared by the staff of the Committee on Appropriations of the U.S. House of

Representatives, and for which the congressional committee has indicated a clear intent to maintain

control over release. The information reviewed during the re-processing of the             FOIA request does

not demonstrate otherwise or change NSA's ultimate determination.


          23.       Based upon my review of the HAC report, I can confirm that it indicates that it was

prepared by the staff of the Committee on Appropriations of the U.S. House of Representatives (also

known as the House Appropriations Committee or HAC). NSA                  understands that when    Congress

creates        a document,   and   a copy   comes    into   the possession of federal agency, the document

does not become an agency record subject to disclosure under the FOIA if Congress has shown a

clear intent to control the document. Congress has exempted itself, and its records, from FOIA.

Therefore, the fact that a government agency may have a copy of a congressional document does

not, by itself, subject that document to the        FOIA.
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           24.      | NSA determined that Congress clearly expressed its intent to maintain control over

 the HAC report because the report contains a banner stating “NOT FOR RELEASE UNLESS AND

 UNTIL AUTHORIZED                      BY COMMITTEE.” I have reviewed the report and note that the banner

 is contained twice in each volume; on the cover page of each volume, and on a memorandum page

 that follows the cover page in each volume of the report.                              These memorandum pages are titled

 “Memorandum For the Chairman” and are signed “Respectfully Submitted” by the “Director” for

the “Survey and Investigations House Appropriations Committee.” These memorandums are dated

December 29, 1967 and February                     15, 1968.        I have not seen any record indicating that NSA, or

anyone          else,   added    the    banner     stating        “NOT        FOR     RELEASE      UNLESS     AND     UNTIL

AUTHORIZED               BY     COMMITTEE?”              after NSA received the document in 1968.Rather, based on

my experience and to the best of my knowledge based on the information available to me, it is my

understanding           that the banner          would     have    been       included by the staff of the Committee      on

Appropriations of the U.S. House of Representatives as the preparer of the report.                             It is also my

experience and based upon my knowledge that this banner is used by Congress to indicate its intent

to retain control. Without facts to show that Congress                               relinquished this control, NSA   is not

permitted to release this report.


          25.      | NSA's conclusion that Congress did not relinquish control is further supported by

additional inquiries to Congress. As previously indicated in the declarations by Jonathan Hubbard

(Dkt 28, para 12-13) and Sara Stevens (Dkt 37, para 7), Kinnucan's FOIA request was not the first

time that this report has been requested. On March 17, 2008, NSA received a request for the same

report.    It is my understanding that given the historical interest in the report and the amount                         of

time that had passed             since the report was              authored,        the Agency's Legislative Affairs Office

(“LSLA”) contacted the HAC to determine whether the report could be released. On October 1, 2009,

LSLA received a phone call from a staff member of the HAC who informed the Agency that the
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 report could not be released.     This statement affirmed the original instruction from the HAC that

 the report was not to be released, and that Congress continued to exercise control over the report.

 Asa   result, the 2008 FOIA request for the HAC report was denied.


         26.     | Asacourtesy to Kinnucan, NSA's LSLA office reached out to the HAC in July 2024

 advising that this case is on remand and they were again seeking the committee's "position on

 releasing these documents.".      LSLA's email concluded by asking for "thoughts on which HAC

 subcommittee this falls under, the determination, and any concerns [the committee] may have."        In

 response, a committee staff member responded via email saying, in full, "I think the subject matter

 of the report would continue to fall under the HAC-D jurisdiction.       To my knowledge there is no

 change in the Committee's policy regarding this matter, but let me know if you need anything

additional to that effect.”    I am aware that “HAC-D” refers to the defense subcommittee of the

HAC.


       27.         LSLA's office staff members   also re-confirmed that they were not aware of any

records that indicated that Congress previously relinquished control of the HAC           report and/or

authorized NSA to release the report, and a new search of the email accounts of the individuals

who would reasonably have received such correspondence produced no relevant records.


                                      VI.   Discretionary Releases


       28.       In NSA's 28 June letter, NSA also identified and disclosed additional information that

NSA reviewed for responsiveness and also considered in reaching its conclusion.


       29.       While NSA considered and released the information identified below to Kinnucan in

order to provide a full and complete record, consideration of this information did not change NSA's

ultimate position. The key for NSA's determination is the banner stating “NOT FOR RELEASE


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 UNLESS       AND   UNTIL AUTHORIZED               BY COMMITTEE,” and the information described below

 does not undermine this indication of Congress' intent to maintain control.             I understand that the

additional information was not presented earlier because it was not initially identified as potentially

responsive to the FOIA          request and therefore not processed under FOIA,           and/or because the

potential significance of the information was not appreciated until further review.


       30.      NSA released to Kinnucan a “Routing and Transmittal Slip” and a “Memorandum

for the Director/Deputy Director” of NSA, a copy of which is included with Exhibit A. The routing

slip and memorandum          are internal NSA         records. NSA     determined that these 2 pages are not

responsive to Kinnucan’s FOIA request because the request sought one specific record which

contained two volumes (i.e., the HAC             report). But NSA nonetheless released these two internal

documents because they reference NSA's possession of the requested HAC                   report and therefore

potentially had bearing on the decision of whether the report was a congressional record.


       BL.      During NSA's re-processing, NSA also reviewed handwritten notes contained on the

HAC   report and determined that these notes are not responsive to Kinnucan's FOIA                   request.

However, NSA disclosed the content of those notes that may bear on the question of whether the

HAC report is a congressional record and/or or may reflect NSA's views on that question.


      32.       In handwritten print across the cover pages of both Volumes I and II a note says “Not

releasable” and “Information appeared in the press on 8 July '68.”! There is no indication of who

wrote the cover page notes stating that the volumes are “not releasable.” However, based upon my

review of the notes throughout the report, I can infer that they were applied by NSA.




      ' The June 28 letter to Plaintiff inadvertently stated “June”.
                                                               1]
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           33.      The other notes throughout the body of the report are not responsive to the          FOIA

 request nor does NSA          interpret them to provide any information relating to Congress’ intent.

 Therefore, NSA determined that a discretionary release was not warranted of every handwritten

 note.



          34.      NSA re-confirmed that every page of the HAC report is marked “TOP SECRET.” In

 addition, NSA       indicated that   a memorandum       page that is included in both volumes contains a

 statement that “This report is classified TOP SECRET because it contains information, so classified

 by the Department of Defense, relating to matters involving national security of the United States.”

 NSA has consistently treated the HAC              report as a Top   Secret classified document,   including

 limiting its disclosure and employing other protections. But, whether the HAC report should be

 considered currently and appropriately classified Top Secret is a distinct inquiry from whether the °

 HAC report is a congressional record. Given the quoted language, NSA clarifies that NSA does not

rely on the Top Secret marking as an indicator of congressional intent to maintain control of the

HAC report, but rather as a communication about the type of information contained in the HAC

report and classification.


         35.       While the “TOP     SECRET”       stamp, however, may not directly indicate Congress'

intent to retain control of a document, it is not inconsistent with the congressional intent indicated

by the banner       stating   “NOT    FOR    RELEASE       UNLESS     AND    UNTIL    AUTHORIZED        BY

COMMITTEE.”


                                            VII.     CONCLUSION


         36.      The facts described above support the Agency's understanding that Congress clearly

expressed its intent to retain control over the document at the time of its creation and has not

relinquished that control. NSA has considered not only the request on its face, but all additional
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information    and that information   did not refute the initial conclusion.    Therefore, NSA    is not

permitted to process the report for release under FOIA absent Congressional authorization. To date,

NSA continues to treat the HAC report as a congressional record that it is not free to release.


      37.       I declare under penalty of perjury that the foregoing is true and correct.


      Executed this 14" day of August, 2024, pursuant to 28 U.S.C. § 1746.

                                                                Odom @, DMs
                                                               ADAM DeMILLIO
                                                               Deputy Chief of
                                                               Enterprise Guidance Services
                                                               National Security Agency
